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                 Redlands, 35 Cajon Street, Suite 20, Redlands, California 92373
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             8
                                       UNITED STATES DISTRICT COURT
             9
                               FOR THE CENTRAL DISTRICT OF CALIFORNIA
            10

            11   ORONDE LONDON,                 )          CASE NO.: 17-cv-00185 JFW (SPx)
                                                )
            12                       Plaintiff, )          Hon. John F. Walter
                                                )
            13                                  )          (PROPOSED) STATEMENT OF
                 v.                             )          DECISION
            14                                  )
                 CITY OF REDLANDS, 35 Cajon )
            15   Street, Suite 20, Redlands,    )
                 California, 92378,             )
            16                                  )
                                     Defendant. )
            17   ____________________________ )
            18
            19

            20         On May 15, 2017, Defendant City of Redlands’ Motion to Dismiss came on
            21   for regular hearing before the Honorable Judge John F. Walter in Courtroom 7A of
            22   the United States District Court, Central District of California.
            23                                              I.
            24                                   FACTS PRESENTED
            25         Plaintiff made three requests for various building permits from the Defendant
            26   CITY of Redlands (herein after “CITY”) under the California Public Records Act
            27   (Government Code Section 6250 et seq.). The requests were not made under the
            28   federal Freedom of Information Act.
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             1              Plaintiff’s first Public Records Act request #15-277 was sent to the CITY
             2   on October 26, 2015. An initial response to Plaintiff’s request was sent by CITY on
             3   October 26, 2015. On November 9, 2015, the CITY responded to Plaintiff’s first
             4   request and provided the requested records. On March 3, 2016, the CITY contacted
             5   Plaintiff again to produce additionally discovered documents relevant to his first
             6   request.
             7              Plaintiff’s second Public Records Act request #16-559 was sent to the
             8   CITY on October 12, 2016. An initial response to Plaintiff’s request was sent by
             9   CITY on October 12, 2016. On October 27, 2016, the CITY responded to Plaintiff’s
            10   second request and provided the requested records.
            11              Plaintiff’s third Public Records Act Request, No. 16-561, was sent to the
            12   CITY on October 12, 2016. It stated:
            13              “I am requesting to view permit on file for the following resident 851 W.
            14   Highland Avenue, Redlands, CA, 92373. Description: Air Conditioning & Heating
            15   equipment installation contractor: Pacific Heating & Air Conditioning
            16   (SCLB#957503) Date: Between 2013-2015.”
            17              An initial response to Plaintiff’s third request was sent by CITY on October
            18   14, 2016. On October 27, 2016, after due diligence had been performed by the CITY
            19   departments in reviewing their files, the CITY informed Plaintiff that it had
            20   determined it had no records responsive to Plaintiff’s third request. Other than this
            21   particular request, the CITY provided all requested documents that were in the
            22   CITY’s custody, control, and possession.
            23              On October 25, 2016, Plaintiff filed a claim with the CITY OF
            24   REDLANDS, alleging that the CITY refused to comply with the Public Records Act
            25   Requests in accordance with California Government Code Sections 6253.9(a),(c),(d).
            26   Plaintiff’s claim and complaint misstates the facts, as the CITY had not yet told him
            27   that the documents related to his third requests do not exist by the time Plaintiff filed
            28   his claim with the CITY. Rather, the day after Plaintiff filed his claim with the
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DISENHOUSE LAW                                          2
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             1   CITY, Plaintiff received documents related to his second request and was informed
             2   by the CITY that no responsive documents existed relating to his third request. On
             3   December 20, 2016, the CITY OF REDLANDS rejected Plaintiff’s claim.
             4         Plaintiff and the CITY were in discussions regarding the administrative appeal
             5   process for his rejection letter as of January 25, 2017. However, Plaintiff failed to
             6   exhaust his administrative remedies by actually engaging in the administrative
             7   appeal process. Instead, on January 31, 2017, Plaintiff filed the instant complaint in
             8   federal court, claiming that the action was, in part, brought under the Freedom of
             9   Information Act, 5 U.S.C. § 552, as well as California Public Records Act,
            10   Government Code Section 6254. While the complaint does reference requests made
            11   under the California Public Records Act, and, more importantly, documents arguably
            12   within the possession of the City of Redlands, the complaint does not reference a
            13   single request made to the federal government nor the making of any request for
            14   documents to the federal government for records likely to be maintained by the
            15   federal government. The complaint does not set forth a factual basis in separate
            16   claims for either a 14th Amendment due process violation nor “tax evasion”, nor are
            17   any facts set forth in the complaint which explain even a potential factual basis for
            18   either purported claim.
            19                                              II.
            20                                    LAW PRESENTED
            21         A. Rule 12(b)(1) Motion
            22         Where subject matter jurisdiction is lacking, dismissal under Rule 12(b)(1) is
            23   appropriate. MacKay v. Pfiel (9th Cir. 1987) 827 F.2d 540, 543. Once the defendant
            24   objects to a lack of subject matter jurisdiction, plaintiff bears the burden of
            25   establishing that the court has subject matter jurisdiction. Lujan v. Defenders of
            26   Wildlife (1992) 504 U.S. 555, 561. To survive a motion to dismiss under Rule
            27   12(b)(1), a plaintiff must prove that the court has jurisdiction to hear the case.
            28   Kokkonen v. Guardian Life Ins. Co. (1994) 511 U.S. 375, 377 (“Federal courts are of
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             1   limited jurisdiction… It is to be presumed that a cause lies outside this limited
             2   jurisdiction, and the burden of establishing the contrary rests on the party asserting
             3   jurisdiction.”). As set forth below, plaintiff has not remotely meet his burden of
             4   proof, warranting the granting of this motion.
             5            B. Rule 12(b)(6) Motion
             6            A court has authority to dismiss a suit for failure to state a claim upon
             7   which relief can be granted if the complaint clearly demonstrates that the plaintiff
             8   cannot prove any set of facts that would entitle it to relief. Hishon v. King &
             9   Spalding (1984) 467 U.S. 69, 73; Doe v. Hillsboro Indep. Sch. Dist. (5th Cir.1996)
            10   81 F.3d 1395, 1401-02. The issue is not whether a plaintiff will ultimately prevail
            11   but whether the claimant is entitled to offer evidence to support the claims. Scheuer
            12   v. Rhodes (1974) 416 U.S 232, 236. “The question therefore is whether in the light
            13   most favorable to the plaintiff and with every doubt resolved in his behalf, the
            14   complaint states any valid claim for relief.” Beanal v. Freeport McMoran, Inc. (5th
            15   Cir.1999) 197 F.3d 161, 164.
            16            When considering a motion to dismiss for failure to state a claim,
            17   “conclusory allegations or legal conclusions masquerading as factual conclusions”
            18   will not suffice to prevent a motion to dismiss. Fernandez-Montes v. Allied Pilots
            19   Ass’n. (5th Cir.1993) 987 F.2d- 278, 284. Specifically, a motion to dismiss will be
            20   granted when “the factual averments do not justify recovery on some theory
            21   adumbrated in the complaint...” Podiatrist Assn. v. La Cruz Azul de P.R., Inc. (1st
            22   Cir.2003) 332 F.3d 6, 19. “The threshold for stating a claim may be low, but it is
            23   real.” Id. “The complaint must therefore set forth factual allegations, either direct or
            24   inferential, supporting each material element necessary to sustain recovery under
            25   some actionable legal theory.” Id.
            26             For the reasons set forth below, plaintiff’s complaint is largely conclusory,
            27   and has failed to state a claim for relief, warranting the dismissal of this action.
            28   //
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             1          C. Subject Matter Jurisdiction
             2          There are two principal bases upon which a district court may exercise
             3   subject matter jurisdiction: (1) the existence of a federal question and (2) complete
             4   diversity of citizenship among the parties. See 28 U.S.C. Sections 1331, 1332. The
             5   court can properly exercise jurisdiction on the basis of diversity of citizenship if the
             6   parties are of completely diverse citizenship and the case involves an amount in
             7   controversy of at least $75,000. See 28 U.S.C. Section 1332 (a). District courts have
             8   federal question jurisdiction over civil cases “arising under the Constitution, laws, or
             9   treaties of the United States.” See 28 U.S.C. Section 1331; Frank v. Bear Stearns &
            10   Company (5th Cir. 1997) 128 F.3d. 919, 922. The complaint does not set forth a
            11   federal question nor does it establish diversity jurisdiction. Dismissal is therefore
            12   warranted.
            13            D. Failure to State Facts Sufficient to Support a Claim for Relief
            14            To plead a claim for injunctive relief under 5 U.S.C. Section 552, Plaintiff
            15   must plead facts showing that requests were made under the federal Freedom of
            16   Information Act. See 5 U.S.C. Section 552. Additionally, Plaintiff must show that he
            17   has exhausted his administrative remedies before pursuing civil litigation. See 5
            18   U.S.C. § 552(a)(6)(B). Plaintiff’s complaint does not allege either, warranting
            19   dismissal.
            20            Further, to plead a claim for injunctive relief under California Government
            21   Code Section 6250 et seq, Plaintiff must state facts showing that the CITY violated
            22   the Public Records Act. See Government Code Section 6250 et seq. The undisputed
            23   facts establish that CITY complied with plaintiff’s requests to the extent possible,
            24   thus warranting dismissal of this action.
            25            The Public Records Act requires the CITY to provide access to, or copies
            26   of, existing records responsive to the request that are in its possession, subject to
            27   certain exceptions. See Government Code Section 6250 et seq. The Act does not
            28   require the CITY to provide information, answer questions, or create records that do
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             1   not exist. See Government Code Section 6250 et seq. A local agency has no duty to
             2   create a record that does not exist at the time of the request. Gov. Code, § 6252,
             3   subd. (e); Haynie v. Superior Court (2001) 26 Cal.4th 1061; 71 Ops.Cal.Atty.Gen.
             4   235 (1988). However, the CITY must respond detailing either that the records will
             5   be produced, that the records do not exist, or that the records will not be produced as
             6   per an exception to the Public Records Act. See Gov. Code, § 6253. The CITY has
             7   done precisely what the law requires, thus warranting dismissal of this action.
             8                                             III.
             9                                           ORDER
            10           Upon reviewing the moving papers, the opposing and reply papers, and
            11   finding good cause thereupon, it is hereby ORDERED, ADJUDGED, and
            12   DECREED that:
            13           1. Defendant City of Redlands’ Motion to Dismiss is granted as prayed;
            14           2. Plaintiff’s complaint is dismissed with prejudice and judgment shall be
            15   entered on behalf of Defendant CITY OF REDLANDS.
            16   Date:
            17

            18                                           ___________________________________
            19
                                                         JUDGE OF THE U.S. DISTRICT COURT

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DISENHOUSE LAW                                         6
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